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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

CHARLIE LAMONTE                  :
MCKINNEY, JR.,                   :
                                 :
                 Plaintiff,      :
                                 :
           V.                    :
                                 :                  NO. 5:24-cv-00105-MTT-CHW
TYRONE OLIVER, et al.,           :
                                 :
                 Defendants.     :
_________________________________:

                                           ORDER

       Plaintiff Charlie Lamonte McKinney, Jr., a prisoner in Central State Prison in

Macon, Georgia, has filed a pro se civil rights complaint under 42 U.S.C. § 1983. Compl.,

ECF No. 1. This complaint, however, is not on the proper form for prisoner § 1983

complaints. If Plaintiff intends to proceed with this action, Plaintiff is ORDERED to

recast his complaint on the proper form consistent with the instructions below.

       Plaintiff’s complaint, as currently drafted, is scattered and difficult to follow. In

recasting his complaint, Plaintiff must clearly set forth the claims that he is seeking to raise.

To that end, Plaintiff must identify the defendants against whom he is seeking to proceed,

and he must state what each defendant did or did not do that Plaintiff believes violated his

constitutional rights. Plaintiff is not to attach exhibits or other documents to the recast

complaint. Plaintiff may attach additional pages to the complaint if he needs to do so to

state his claims, but Plaintiff may attach no more than a total of ten additional pages for his

statement of the claims.
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       Plaintiff’s recast complaint will take the place of, and supersede, his original

complaint, such that the Court will not look back to the original complaint when

considering Plaintiff’s claims. Thus, Plaintiff should take care to include any relevant

facts that he wants the Court to consider in his recast complaint.

       Additionally, Plaintiff has not paid the $405.00 filing fee for his complaint or moved

for leave to proceed in forma pauperis. A prisoner seeking to proceed in forma pauperis

must submit both (1) an affidavit in support of his claim of indigence, and (2) “a certified

copy of the trust fund account statement (or institutional equivalent) . . . for the 6-month

period immediately preceding the filing of the complaint.” 28 U.S.C. § 1915(a)(1)-(2).

Without the account statement (or similar certified documentation), the Court does not have

sufficient information to determine the average monthly deposits or the average monthly

balance in Plaintiff’s trust account as required by 28 U.S.C. § 1915. See id. (requiring the

district court to assess an initial partial fee when funds are available). Thus, Plaintiff is

now ORDERED to either pay the $405.00 filing fee or file a proper and complete motion

to proceed in forma pauperis.

       Plaintiff shall have FOURTEEN (14) DAYS from the date of this order to file his

recast complaint on the proper form and either pay the $405.00 filing fee or submit a proper

and complete motion for leave to proceed in forma pauperis. Plaintiff’s failure to fully

and timely comply with this order may result in the dismissal of this action. Additionally,

while this case is pending, Plaintiff must promptly notify the Court in writing as to any

change to his mailing address.




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       The CLERK is DIRECTED to forward Plaintiff a blank 42 U.S.C. § 1983 form

and a motion to proceed in forma pauperis with the appropriate account certification form

and his service copy of this order (with the civil action number showing on all). There

shall be no service in this case pending further order of the Court.

       SO ORDERED and DIRECTED, this 19th day of April, 2024.


                                           s/ Charles H. Weigle
                                           Charles H. Weigle
                                           United States Magistrate Judge




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